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                                                                        October 26, 2022
VIA ECF
Hon. Judge Paul G. Gardephe
United States District Court,
Southern District of New York
40 Foley Square, Room 2204
New York, New York 10007

Re:    MCM Group 22 LLC v. Perry, et al., Case No. 22-cv-06157-PGG
       Submission re: Copyright Venue

Dear Judge Gardephe,

      This firm represents Plaintiff MCM Group 22 LLC in the above captioned matter.
We write in response to the Court’s 24 Oct. 2022 Order (Dkt. 21) directing that:

       Plaintiff will make a submission addressing why venue is proper in this
       District under 28 U.S.C. §§1391, 1400(a). In its submission, Plaintiff will
       explain how Twitter qualifies as Defendant’s ‘agent’ for purposes of 28
       U.S.C. §1400(a) and cite supporting authority.

                                        Summary
        Venue is proper in this District on Plaintiff’s copyright infringement claim because
Defendant Perry has waived challenges to personal jurisdiction and venue. But even if
Defendant had not so waived venue, the copyright specific venue statute 28 U.S.C.
§1400(a) applies, rather than 28 U.S.C. §1391. 28 U.S.C. §1400(a) allows for broader
venue than §1391, providing that venue lies “in the district in which the defendant or his
agent resides or may be found.” The analysis for copyright venue is effectively equivalent
to personal jurisdiction over either the Defendant or his agent. As to Defendant’s agent,
it is not disputed that non-party Twitter Inc. (“Twitter”) “may be found” in this District
and that personal jurisdiction is proper over Twitter in this District. As to the relationship
between Twitter and Defendant, Twitter is Defendant’s agent for the purposes of 28
U.S.C. §1400(a), and with respect to the posting of the messages in question, because
Defendant exercises control over the actions of Twitter.




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                      Defendant Perry Has Waived Defenses
                  Arising From Personal Jurisdiction And Venue

        Defendant Perry has waived defenses based on both personal jurisdiction and
venue by explicitly disclaiming them, and separately by failing to raise them in his first
defensive move. As outlined in Defendant Perry’s Letter Motion To Dismiss (Aug. 24,
2022) (Dkt. 14) (“Def. Mot.”), the defenses as to Defendant Perry are based on Fed. R.
Civ. P. 12(b)(1) (lack of subject-matter jurisdiction) and 12(b)(6) (failure to state a claim).
        Perry explicitly disclaimed personal jurisdiction and venue in his Letter Motion To
Dismiss (Dkt. 14). As to personal jurisdiction, he states “[t]he assertion of personal
jurisdiction of Mr. Perry is specious at best. However, Mr. Perry would prefer this
to be adjudicated on the merits.” Def. Mot., at 5 n.7 (emphasis added.) As to venue,
the Motion similarly identifies and then fails to raise venue as a defense, stating “[v]enue
is also improper under Rule 12(b)(3) and 28 U.S.C. §1391(b) … However, courts
frequently transfer actions brought in the wrong venue, and dismissal of this
meritless action is the preferred outcome.” Id., at 5 n.1. Thus, as to both personal
jurisdiction and venue, Defendant explicitly acknowledged the issue, and then declined
to raise them, because Defendant “would prefer this to be adjudicated on the merits” and
because Defendant wished to avoid the possibility of transfer.
        “A defendant who wishes to raise the defense of improper venue ‘must do so in its
first defensive move, be it a Rule 12 motion or an answer.’” Benjamin v. Carusona, 2010
WL 4448213, at *6 (S.D.N.Y. Nov. 5, 2010) (quoting Hartling v. Woodloch Pines, Inc.,
No. 97 Civ. 2587, 1998 WL 575138, at *1 (S.D.N.Y. Sept. 8, 1998)). “‘[T]he omission of a
Rule 12 motion from a party's motion to dismiss results in waiver of the defense unless
the defense was not available at the time of the motion.’” (Id. (quoting Arkwright Mut.
Ins. Co. v. Scottsdale Ins. Co., 874 F. Supp. 601, 604 (S.D.N.Y. 1995)); see also Fed. R.
Civ. P. 12(h)(1) (“A party waives any defense listed in Rule 12(b)(2)-(5) by . . . failing to
either (i) make it by motion under this rule; or (ii) include it in a responsive pleading . . .
.”).
        As to former Defendant Violette, Def. Mot. states that the grounds are based on
“Fed. R. Civ. P. 12(b)(1), (2), and (6).” Def. Mot. at 1, ¶1. But the itemized list of legal
bases on pages 3-5 makes clear that the defense of personal jurisdiction is raised only as
to Mr. Violette. See Def. Mot. ¶5 (“[t]he Court lacks personal jurisdiction over Mr.
Violette…”). Mr. Violette was dismissed on September 1, 2022. See Dkt. 20.
        Thus, because Defendant both explicitly disclaimed defenses as to personal
jurisdiction and venue, and because Defendant failed to raise those arguments as to
Defendant Perry in Def. Mot., such defenses should be deemed waived.




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               28 U.S.C. §1400(a) Controls Venue In This Matter,
                 and is Coextensive With Personal Jurisdiction

       With respect to venue under §1400(a), another court in this District set forth the
law as follows:

       As an initial matter, Defendants rely on the general venue statute, § 1391,
       for their argument, ignoring that a specific venue statue, § 1400, governs
       copyright actions. ‘Section 1391 governs ‘venue generally,’ that is, in cases
       where a more specific venue provision does not apply.’ Atl. Marine Constr.
       Co. v. U.S. Dist. Court for W. Dist. of Tex., 571 U.S. 49, 55 n.2, 134 S. Ct.
       568, 187 L. Ed. 2d 487 (2013) (citing § 1400 as venue statute for copyright
       suits). Here, a more specific venue provision applies since venue in a
       copyright action is governed by § 1400(a), which provides that venue is
       proper in any ‘district in which the defendant or his agent resides or may be
       found.’ 28 U.S.C. § 1400(a); see also Capitol Records, Inc. v. Kuang Dyi Co.
       of RM, No. 03 Civ. 0520(LAP), 2004 U.S. Dist. LEXIS 3305, 2004 WL
       405961, at *1 (S.D.N.Y. Mar. 4, 2004) (‘In an action for copyright
       infringement, venue is controlled by 28 U.S.C. § 1400(a) . . . .’). ‘A defendant
       'may be found' wherever that person is amenable to personal jurisdiction.’
       Cavu Releasing, LLC. v. Fries, 419 F. Supp. 2d 388, 394 (S.D.N.Y. 2005)
       (citation omitted); see also Lipton v. Nature Co., 781 F. Supp. 1032, 1035
       (S.D.N.Y. 1992), aff'd, 71 F.3d 464 (2d Cir. 1995).

Sygall v. Pitsicalis, No. 18-CV-2730 (VSB), 2018 US Dist LEXIS 194562 (S.D.N.Y.
Nov. 14, 2018)

                   Twitter “may be found” In This District And
                 Is Subject to Personal Jurisdiction In New York
       Regarding the question of where a defendant “may be found” pursuant to §1400(a),
there is a near consensus among courts that “[t]he standards for determining whether a
corporate defendant resides or is ‘found’ within a given district are no more strict than
those generally established for determining whether a foreign corporation is ‘doing
business’ so as to be amenable to suit.” 3 Nimmer on Copyright §12.01. “Examination of
the history of the various venue statutes reveals that… 28 U.S.C. §1400(a) provides less
rather than more restrictive venue standards than does either section 1391(c) or section
1400(b).” Time v. Manning, 366 F.2d 690, 697 (5th Cir. 1966). “If a corporation is doing
business in a district for §1391(c) purposes, it may be found there for purposes of
§1400(a).” Id. at 698.

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        Thus, it is undisputed that Twitter “may be found” in this judicial district. As
alleged in the Complaint, Twitter has offices in this District (on 8th Avenue in Manhattan)
with approximately 400 employees. Compl. ¶8. Twitter’s website, on which the infringing
messages were disseminated, is operated at least in part by Twitter’s employees in its New
York offices. Compl. ¶9. Pursuant to NY CPLR §302, “a court may exercise personal
jurisdiction over any non-domiciliary … who in person or through an agent: (1) transacts
any business within the state…, or (4) owns, uses, or possesses any real property situated
within the state.” Thus, there is no question that Twitter is “transacting business” in this
state, and also that it “owns, uses, or possesses any real property” within the state.

           Twitter Is Defendant’s Agent As To The Posting Of Tweets
       With respect to Defendant’s conduct at issue in this matter, including posting
messages on his Twitter page which infringe Plaintiff’s copyrights (and seek monetary
compensation for doing so), Twitter is Defendant’s agent because Twitter distributes his
messages to the public, and because Defendant exercises the element of control over
Twitter’s actions.
       As pled in the Compl. (Dkt. 1), “[c]ertain of the Defendants’ actions giving rise to
this Complaint were internet publications or ‘tweets’ made on Twitter’s online social
media platform (the ‘Twitter Platform.’) Defendants are customers and users of Twitter
and have account(s) on the Twitter Platform, which is operated at least in part by the
employees in Twitter’s New York offices.” Compl. ¶9. “Defendants provide Twitter, by
agreement and by using the site, with authority to publish Tweets on their behalf.
Defendants control the content of their tweets published by Twitter and instruct Twitter
on when to publish said tweets. Twitter is Defendants’ agent for the purposes of
publishing tweets.” Id. ¶10. “Defendants’ direction of Twitter to publish a tweet is a
transaction of business within the meaning of NY CPLR §302(1). Thus, personal
jurisdiction is proper in this district as to Defendants under at least NY CPLR § 302(1) et
seq.” Id. ¶21.
       “Because general considerations govern here, no problems peculiar to the law of
copyright arise, so reference should be made to general sources on federal jurisdiction
and venue.” See 3 Nimmer on Copyright ¶12.01. “Under New York law, ‘an agency
relationship exists . . . when there is agreement between the principal and the agent that
the agent will act for the principal and the principal retains a degree of control over the
agent. The element of control often is deemed the essential characteristic of the principal-
agent relationship.’” White v. Pacifica Found., 973 F.Supp 2d 363, 377 (S.D.N.Y. 2013)
(Gardephe, U.S.D.J.)




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        It is here undisputed that Defendant Perry has “joined” Twitter by creating an
account and accepting Twitter’s contractual terms of service.1 Thus, there is an
agreement between Defendant and Twitter.
        It is also undisputed that Defendant Perry frequently instructs Twitter to post
messages from him to the public at large.2 For example, according to Defendant’s
Twitter Page, he posted approximately twenty times on October 24, 2022. In each of
those instances, Defendant instructed Twitter to make the post using Twitter’s online
interface, through that interface specifying the content of the post and the time at which
it was to be posted. After Defendant makes the request, Twitter immediately posts the
tweet. Similarly, Defendant can—at-will—instruct Twitter to delete a tweet, and Twitter
deletes that tweet. In other words, Defendant maintains complete control over the
messages posted to his Twitter page, and is the sole determinant of which messages are
distributed via that page. Thus, Defendant Perry exercises a high “degree of control”
over Twitter with respect to messages posted to Defendant’s twitter page by Defendant.
        Moreover, this is exactly how Twitter’s documentation instructs its users to use
its system. See Twitter’s New user FAQ3, which provides the following questions and
answers:

      •   What is Twitter? Twitter is a service for friends, family, and coworkers
          to communicate and stay connected through the exchange of quick,
          frequent messages. People post Tweets, which may contain photos, videos,
          links, and text. These messages are posted to your profile, sent to your
          followers, and are searchable on Twitter search.
      •   What’s a Tweet? A Tweet is any message posted to Twitter which may
          contain photos, videos, links, and text. Click or tap the Tweet button to
          post the update to your profile.
      •   Can I edit a Tweet once I’ve posted it? No, you can’t edit a Tweet
          once you have posted it, but you can delete your Tweet.
      •   Who reads my updates? Your followers read your Tweets. If your
          Tweets are public, anyone who runs a search for a keyword in your Tweet
          may be able to see that message. Your Tweets are public by default…



1   See Defendant’s Twitter Page located at: https://twitter.com/lporiginalg
2   Defendant’s Twitter Page indicates that he has posted approximately 37,400 tweets.

3   Retrieved from: https://help.twitter.com/en/resources/new-user-faq on 26 Oct. 2022.
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        Lastly, with respect to whether Defendant’s relationship with Twitter is sufficient
to find venue in the Southern District on a copyright claim involving his messages posted
on Twitter’s website, the case is analogous to Vasquez v. Negron, 434 F.Supp. 2d 199, 200
(S.D.N.Y. 2006). In Vasquez, the defendant had no contacts with New York, but “[w]ith
one exception … which is the subject of allegations in the pleadings, is this: plaintiff alleges
that [Defendant] is doing business in New York through an agent. [Defendant] is a
member of ASCAP, which is located in New York City, and uses ASCAP as its agent for the
collection of royalties.” The Court went on to hold that the Defendant in Vasquez was
“transacting business in New York by virtue of his exploitation of Noche de Fiesta [the
copyrighted work at issue] through the medium of his contract partner, ASCAP,” and held
that personal jurisdiction attaches in New York. The Vasquez Court further held, in
denying a motion to dismiss for improper venue, that “[f]or purposes of copyright
litigation, venue is proper if in personam jurisdiction is proper. Since this court has
personal jurisdiction over [Defendant], venue is proper in this Court.” Id. at 202.
        In this case, as in Vasquez, Defendant is transacting business in New York by virtue
of his exploitation of the copyrighted work at issue through the medium of his contract
partner, Twitter.

                                        Conclusion

      Plaintiff, therefore, respectfully submits that both personal jurisdiction and venue
were waived by Defendant Perry, are proper in this Court, and that Defendant’s Motion
should be denied in its entirety.
      However, to the extent that the Court is persuaded by any of Defendant’s
arguments, Plaintiff respectfully requests that, rather than dismissal, discovery into facts
going to venue, followed by the opportunity to amend plaintiff’s complaint, would be
appropriate.

                                            Respectfully Submitted,


                                            By:______________________
                                                Erik Dykema, Esq.




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